                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                             DOCKET NO. 5:11CR73


UNITED STATES OF AMERICA            )
                                    )
                                    )                                 ORDER
                  v.                )
                                    )
JOHNNY SANFORD JOHNSON              )
____________________________________)


       This matter having come before the Court on the Motion to Dismiss filed by the United

States, and the Court being sufficiently advised,

       IT IS HEREBY ORDERED that the Motion of the United States is GRANTED, and

the charge contained in Count 4 of the Superseding Indictment should be dismissed without

prejudice against defendant Johnny Sanford Johnson.




                                                      Signed: February 20, 2013




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